CASE 0:17-cv-00706-DSD-KMM Document 78 Filed 02/27/19 Page 1 of 8
CASE 0:17-cv-00706-DSD-KMM Document 78 Filed 02/27/19 Page 2 of 8
CASE 0:17-cv-00706-DSD-KMM Document 78 Filed 02/27/19 Page 3 of 8
CASE 0:17-cv-00706-DSD-KMM Document 78 Filed 02/27/19 Page 4 of 8
CASE 0:17-cv-00706-DSD-KMM Document 78 Filed 02/27/19 Page 5 of 8
CASE 0:17-cv-00706-DSD-KMM Document 78 Filed 02/27/19 Page 6 of 8
CASE 0:17-cv-00706-DSD-KMM Document 78 Filed 02/27/19 Page 7 of 8
CASE 0:17-cv-00706-DSD-KMM Document 78 Filed 02/27/19 Page 8 of 8
